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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     NORTHERN DIVISION

DeMARIO CANNON
#61175                                                         PLAINTIFF

v.                        No. 3:20-cv-313-DPM

KEITH BOWERS, Administrator,
Craighead County Detention Center;
and TONI RAYMOND, Administrative
Assistant, Craighead County Detention
Center                                                       DEFENDANT

                                   ORDER
     The    Court adopts         Magistrate Judge Volpe' s unopposed
recommendation, Doc. 5.    FED. R. CIV. P.   72(b) (1983 addition to advisory
committee notes).     Cannon's complaint will be dismissed without
prejudice for failure to state a claim. This dismissal counts as a "strike"
for purposes of 28 U.S.C. § 1915(g). An in forma pauperis appeal from
this Order and accompanying Judgment would not be taken in good
faith. 28 U.S.C. § 1915(a)(3).
     So Ordered.



                                    D .P. Marshall Jr.
                                    United States District Judge
